           Case 4:17-cv-00425-KGB Document 1 Filed 06/30/17 Page 1 of 3
                                                                                                   FILED
                                                                                                 U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT ARKANSAS


                                UNITED STATES DISTRICT COURT                                     JUN 3 O 2017
                                EASTERN DISTRICT OF ARKANSAS                          JAMES W. McCORMACK, CLERK
                                      WESTERN DIVISION                                By:      ~
                                                                                                                DE? CLERK

KENNETH AND MARY STOKES                                                              PLAINTIFFS

vs.                               NO.     4:/7-cv- ~25-KG-8
RPM COMMERICAL, INC. D/B/A
COLDWELL BANKER COMMERICAL RPM;
RECTOR PHILLIPS MORSE, INC.; AND
CHI ST. VINCENT HEALTH SERVICES, INC.                                                DEFENDANTS

                                               COMPLAINT              This case assigned to District Judge       flt;.ker
            · ·            ·        ·     ·                    ;Jnd to Magistrate Judge ___!:/>:.....:u::.::-r.....:e..::.-----
         Plamtiffs, for their Complamt agamst defendants, state.

      1. This is an action for declaratory and injunctive relief pursuant to Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., ("ADA"), as well as general

         negligence. This court is vested with original jurisdiction under 28 U.S.C. §§ 1331 and

         1343.

      2. Venue is proper in this Court, the Eastern District of Arkansas, pursuant to 28 U.S.C. §

         1391(B) and Local Rules of the United States District Court for the Eastern District of

         Arkansas.

      3. Plaintiffs, Kenneth ("Mr. Stokes") and Mary Stokes ("Mrs. Stokes"), are citizens and

         residents of Pulaski County, Arkansas.

      4. Mr. Stokes is a qualified individual with a disability under the ADA. Mr. Stokes suffers

         from a "qualified disability" under the ADA and all other applicable Federal statutes and

         regulations to the extent that he does not have full independent mobility, and relies on the

         use of a mobility walker ("walker").
             Case 4:17-cv-00425-KGB Document 1 Filed 06/30/17 Page 2 of 3
'   .

        5. On or about December 9, 2016, Mr. Stokes accompanied Mrs. Stokes on a medical visit

           to the CHI St. Vincent Primary Care "Midtowne" facility ("facility") located in Little

           Rock, Arkansas.

        6. As Mr. Stokes left the facility, he was using his walker to navigate the parking lot access

           to the handicap parking space when upon reaching the bottom of the slope, due to the

           unreasonable and impermissible slope of the parking lot, he lost control, and fell head

           first over his walker, and was pinned underneath his car. It took several minutes, and the

           assistance of third parties, to help Mr. Stokes get back to his feet. Mr. Stokes suffered

           significant injuries to head and other parts of his body and was hospitalized for multiple

           weeks.

                                COUNT I- VIOLATION OF THE ADA

        7. The slope of the parking lot that accesses the handicapped parking space for the subject

           premises surpasses the permissible slope under the ADA. Additionally, there is

           indentation at the base of the ramp that can act as an impediment for a wheel chair or

           walker. The excessive slope and indentation, individually and collectively, create an

           unreasonable risk of injury for all handicapped persons that are trying to access the

           handicapped parking spaces.This violation of the ADA proximately caused plaintiffs

           mJunes.

                                      COUNT II- NEGLIGENCE

        8. The defendants were negligent in the construction, design, upkeep and maintenance of

           the parking lot access to the handicap parking space at the subject premises. This

           negligence proximately caused the damages sustained by the plaintiff.
                       Case 4:17-cv-00425-KGB Document 1 Filed 06/30/17 Page 3 of 3
..   ~   -   .

                 9. As a result of this incident, Mr. Stokes sustained serious injuries and lifelong scarring.

                    Both plaintiffs have suffered pain, mental anguish, and emotional distress that will

                    continue into the future. Mr. Stokes has scars and disfigurements, and has sustained

                    permanent injuries. The injuries suffered justify an award in excess of $75,000.

                 10. Plaintiffs demand a trial by jury.

                    WHEREFORE, plaintiffs pray judgement against defendant for an amount in excess of

                    $75,000 each, for their cost and all other proper relief.


                                                    Respectfully submitted,

                                                    Timothy 0. Dudley, #82055
                                                    114 South Pulaski Street
                                                    Little Rock, AR 72201
                                                    (501) 372-0080
                                                    Todudley@swbell.net




                                                    Danny R. Crabtree, #2004006
                                                    114 S. Pulaski St.
                                                    Little Rock, AR 72201
                                                    501-372-0080
                                                    danny.crabtree@sbcglobal.net



                                                    BY:
